                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION


RHONDA BURNETT, JEROD BREIT,     )
JEREMY KEEL, HOLLEE ELLIS, and   )
FRANCES HARVEY, on behalf of     )
themselves and all others similarly
                                 )                  CASE NO. 19-CV-00332-SRB
situated,                        )
                                 )                  OBJECTION TO NATIONAL
                  Plaintiffs,    )                  CLASS ACTION SETTLEMENTS
                                 )                  FOR REALOGY HOLDINGS CORP.,
vs.                              )                  RE/MAX LLC., AND KELLER
                                 )                  WILLIAMS REALTY, INC.
THE NATIONAL ASSOCIATION OF      )                  AND SUGGESTIONS IN SUPPORT
REALTORS, REALOGY HOLDINGS       )                  OF THE OBJECTION
CORP. (n/k/a ANYWHERE REAL       )
ESTATE, INC.), HOMESERVICES OF   )
AMERICA, INC., BHH AFFILIATES,   )
LLC, HSF AFFILIATES, LLC, RE/MAX )
LLC, and KELLER WILLIAMS REALTY, )
INC.,                            )
                                 )
                  Defendants.    )



       In compliance with the Preliminary Approval Order and the Long Form Notice of

Proposed Settlements of Realogy Holdings Corp., Re/Max LLC., and Keller Williams the

following members, none of whom have ever objected to a class action settlement before, object

on behalf of a proposed class of individuals who sold a home on a Multiple Listing Service

servicing the District of South Carolina:

       Robert Benjamin Douglas
       Rdoug2172@gmail.com
       Address: 631/2 Maple Street
       Charleston, SC 29403
       Phone # (859)-699-3952
       Home sold: 14 N Tracy Street         .

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       Charleston, SC 29403
       Date of Sale: 2/28/2023
       Listing Broker: Daniel Ravenel
       Sotheby’s International Realty
       Buyer’s Broker: Maven Realty

       Benny D Cheatham
       Benny_cheatham@yahoo.com
       101 Five Oaks Drive, Landrum, SC 29356
       Home Sold: 513 Minnow Drive, Pawleys Island, SC 29585
       Date of Sale: 7/24/2023
       Listing Broker: The Litchfield Company
       Buyers Broker: The Litchfield Company

       Douglas W. Fender II, Dena Marie Fender
       doug.w.fender@gmail.com
       134 Lancelot Court
       Lexington, SC
       (803)542-8019
       Home sold: 208 Spring Water Dr
       Columbia, SC 29233
       8/30/2023
       Listing Broker: Century 21 Vanguard
       Buyer’s Broker: Coldwell Banker Realty


 I.    Introduction

       The Objectors oppose the national class action settlements in their present form and

propose that the settlements be denied final approval for a number of reasons.

       To begin, the class settlement significantly exceeds the narrow scope for which the

classes were certified and for which discovery was conducted. The Moehrl and Sitzer/Burnett

classes were originally certified for a total of 24 Multiple Listing Services (MLSs). This

settlement attempts to expand that class certification to more than 600 MLSs around the country.

This despite the fact that real estate is, at its base, local. Many of those 600 MLSs operate and

enforce their rules differently from other MLSs even within the same state, let alone across the


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country. It is also easy to conflate the illegal activity these MLS engaged in with the means by

which it was accomplished. These MLSs may have used many of the same rules, but often

enforced them in various ways. The participants in these MLSs took part in fixing prices for

commissions, the actual illegal activity, using rules adopted for its particular MLS, though they

may have used similar instrumentalities to do it.

       Realogy Holdings and RE/MAX settled their cases pretrial for $83,500,000 and

$55,000,000 respectively. As a condition of these settlements, both parties agreed to certain

“practice changes” and to cooperate with the Plaintiff lead counsel in the trial of the Burnett and

Moerhl cases. This cooperation agreement does not benefit most of the absent class members.

Indeed, it only benefited those Plaintiffs in the trial of the Burnett action and, should Moerhl

proceed to trial, it may benefit those litigants. (Plaintiff’s Motion for Preliminary Approval for

Realogy and RE/MAX Settlement Agreements, dkt. 1192 at 11) This use of a nationwide

settlement class to benefit particular groups of litigants at the cost of other, absent class members

is a theme running throughout these settlement agreements.

       Keller Williams proceeded to trial in the Burnett case, with Mr. Williams even testifying

in the trial of the case. Having lost at trial in which only four (4) MLSs were at issue, Keller

Williams has agreed to pay a total of $70 million to a national class numbering in the “tens of

millions” in order to settle a $1.7 billion verdict (subject to trebling) awarded to half a million

Missourians. Keller Williams has agreed to similar “practice changes” as are present in the

Realogy and RE/MAX settlements, such as they are. They have further agreed to cooperate with

the Plaintiff’s counsel in the Moerhl, Burnett, and Umpa actions, meaning that Keller Williams

need not cooperate with any other actions alleging the same or similar conduct for any absent


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class member against the Defendants sued in those actions or any other bad actor. (Keller

Williams Settlement Agreement, dkt. 1371-1 at 24)

        Further, the settlement amount, $208,500,000, in the aggregate, is far too low to

adequately compensate the massive number of injured parties here. While the outcome of the

trial and appeals is uncertain, that uncertainty does not mean that Plaintiffs should be able to

handicap other absent class members’ ability to effectively try their own cases, in their own

states, with their own evidence. In other words, Plaintiffs in these cases have bargained away

rights of the citizens of other states in order to ensure that their own cases were settled, their own

clients received cooperation at trial, and their own fees and expenses of trial paid. They did not

conduct even the barest of discovery into the conduct of this conspiracy in other states because

they could not. Yet it is their contention that $208,500,000 is sufficient to make whole absent

class members in radically different circumstances and in radically different conspiratorial

environments. While it is true that two other defendants are presently jointly and severally liable

for the damages verdict delivered in the Burnett case, that does not help absent class members

because the National Association of Realtors’ purported settlement has not even requested

preliminary approval and the remaining defendant has not settled and is apparently continuing to

litigate.

        Next, the settlement agreements at issue here release Franchisees despite not requiring

anything of them. The national brands in this case are able to act only through franchisees. As

will be discussed below, those franchisees are not required to pay any remuneration to those

people they harmed. The fact that they pay a franchise fee of course does not provide

consideration for these releases because they would be required to pay that anyway. They are


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further not required to change any practices or procedures. Antitrust law is designed to deter bad

actors. Here, by requiring the franchisees to neither pay nor change, it is unclear how these

settlements further the purposes of antitrust law.

       Lastly, the practice changes, to the extent that they require any changes at all, sunset after

only five years. The price fixing activity, which is set out as well as it can be in the DOJ’s

Statement of Interest in Nosalek v. MLS Property Information Network, Inc. et. al., No. 1:20-cv-

12244-PBS (D. Mass.), is of a very long vintage. It is foolish to believe that such a long history

of price fixing can be undone by five years of mild practice changes, i.e. not providing particular

software. (DOJ Statement of Interest by the United States in Nosalek, Exhibit 1 at pp. 6-8)

       For these reasons, more thoroughly set out below, objectors from South Carolina ask this

Court deny Final Approval to these three settlement agreements in their present form.

                II.    Pre- Certification Settlements Require Careful Scrutiny



       Rule 23 of the Federal Rules of Civil Procedure requires that a class action settlement

may only be approved after a hearing and only on finding that it is fair, reasonable, and adequate

Marshall v. NFL, 787 F.3d 502, 508 (8th Cir., 2015). In determining that the settlement terms are

fair, adequate, and reasonable the court must also act as a fiduciary “serving as a guardian of the

rights of the class members.” In re: Wireless Tel. Fed. Cost Recovery Fees Litig., 396 F.3d 922,

932 (8th Cir. 2005). In determining whether a settlement is fair, adequate, and reasonable, the

court must consider four (4) factors: (1) The merits of the Plaintiffs’ case weighed against the

terms of the settlement; (2) The Defendants financial condition; (3) The complexity and expense

of further litigation; and (4) The Amount of opposition to the settlement Id. The most important


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consideration... is “the strength of the case for Plaintiffs’ on the merits balanced against the

amount offered in settlement.” Petrovic v. Amco Oil Co., 200 F.3d 1140, 1150 (8th Cir. 1999),

although the District Court cannot value the claims with a high degree of certainty the court must

“insist that the parties present evidence” that would at least enable it to make a “ball park

evaluation” before deciding whether to approve a settlement. Synfuel Technologies, Inc. v. DHL

Express (USA), Inc.,463 F. 3d 646, 653 (7th Cir. 2006).

 III.    The Class Has Been Impermissibly Expanded

         In Blue Shield of Virginia v. McCready, the Court said that “Congress sought to create a

private enforcement mechanism that would deter violators and deprive them of the fruits of their

illegal actions, and would provide ample compensation to the victims of antitrust violations.”

Blue Shield of Virginia v. McCready, 457 U.S. 465, 472 (1982). These three settlement

agreements all purport to expand the relevant classes from 24 MLSs to the entire country. Under

the policies explicated by McCready and its progeny, this is not permissible. This current

iteration of the industry's price fixing activity, namely using the MLS rules to facilitate and hide

price fixing by real estate agents, may very well have been initiated by the NAR. It may also be

that the large national brokerages in their capacity as franchisors drove the NAR to take on that

mantle. It cannot be maintained, however, that the violators are only the national brokerages in

their capacity as franchisors. Likewise, the NAR’s rules would have been hollow verbiage

without willing participation by the local MLSs. As detailed in the previously cited Statement of

Interest, six of the enforcement actions taken against MLSs were not against the National

Association of Realtors. They were rather against local MLSs. In one of the other enforcement

actions, the seminal Supreme Court case United States v. National Association of Real Estate


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Board, 339 U.S. 485 (1950), a jury found that the local real estate board was guilty of price

fixing while the national association was not.

       This is important because, while the framework and incentive for this iteration of the

conspiracy was made by NAR and the franchisors, it was accepted, promulgated, and enforced

differently by franchisees and independent real estate brokerages in 600 MLSs throughout the

country. That framework was enforced in various ways by the franchisees within the corporate

umbrellas of the settling Defendants. This fact that franchisees are at least as complicit in this

conspiracy as the national brokerage as franchisor is borne out by the Burnett complaint in

paragraphs 78 – 84. (Third Amended Complaint, dkt. 759 at ¶¶ 78-84). Franchisees within the

four subject MLSs at issue in Burnett served at very high levels within the NAR and the state

association. Yet those Franchisees were neither sued nor will they pay any penalty in this

settlement.

       An antitrust settlement must serve to deter violators. Here, because discovery was

necessarily circumscribed to the 24 MLSs at issue in the various suits, Plaintiff counsel cannot

have determined, with any granularity, which franchisees, which violators, need to be deterred in

South Carolina. They likely could not have determined that in any of the MLSs outside the 24

MLSs. As such, almost no bad actor will be deterred and, as discussed below, victims will not

be remunerated either.

Further, because the conspiracy was necessarily carried out in individual MLSs by their own

MLS rules, even though many of the operative rules may have been modeled after the NAR’s

Handbook, the correct measure of damages, the availability of proof, and the egregiousness of

the illegal activity would all be different among the hundreds of individual MLSs. As such, this


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Court and these Plaintiffs should not bargain away absent class members ability to discover their

own evidence and try their own cases where the likelihood of success for those absent class

members is unknowable. Plaintiffs are essentially asking this Court to generalize the likelihood

of success in each MLS based on the likelihood of success in their two cases, one spanning four

MLSs and the other twenty, despite the fact that the conspiracy operates differently throughout

each MLS.

 IV.    The Settlement Agreements are Insufficiently Compensatory and The Financial
        Condition of Two of the Companies are in Much Better Condition that Plaintiffs
        Claim. The Financial Condition of the Third Company Cannot Be Determined By
        the Class Members and Objectors Based on Currently Available Information

        As to the financial condition of the three settling parties, Objectors would offer the

Declaration/Affidavit of Dr. Charles Alford as Exhibit 2. It does bear pointing out, however,

that both Realogy and RE/MAX both tout EBITDA as their preferred forms of determining the

health of their corporations. Operating EBITDA in 2023 was positive $200 million for Realogy.

It has also been positive in terms of Free Cash Flow and Adjusted Net Income Further, over the

total damages period, from 2015-2023, Realogy’s operating EBITDA was $5.8 billion, or an

average of $649,000,000 each year. (Exhibit 2 at ¶ 10 c). This is a massive EBITDA, much of

which resulted from illegal price fixing activity. The proposed settlement amount is 1.4% of that

EBITDA figure. Similarly, RE/MAX, the financial condition of which the Plaintiffs view very

pessimistically, has also reported positive EBITDA, adjusted net income, and free cash flow.

(Exhibit 2 at ¶ 11). Further, over the damages period, RE/MAX earned a total adjusted EBITDA

of $928 million, making the $55,000,000 settlement amount 6% of that original figure. As this

Court pointed out in the pretrial conference which addressed the Plaintiff’s motion in Limine No.

6, “…defendants here in this case obviously made huge profits.” (Plaintiff’s Opposition to

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Defendant’s Motion in Limine No. 20, dkt. 1159 at p.2)

       Unfortunately, Keller Williams’s financials are not so easy to obtain. As such, Objectors

would ask that he be allowed to view the same financial information as the Plaintiffs have so that

a similar analysis to the one above may be made by Dr. Alford.

       As Dr. Alford points out, this settling compensation would, at best, lead to each member

of a twenty million member class receiving $10.43 and likely less than that. (Exhibit 2 at ¶ 19).

Even adding in the purported NAR settlement, each member of that class would receive at most

$31.33. Indeed, Plaintiffs intend to recover the roughly $12,000,000 they spent on the trial of the

Burnett case, as well as their fees, from this aggregate settlement amount. Absent class members,

then, would bear the costs of trying to verdict a case that led to a joint and several verdict against

Keller Williams, NAR, and HomeServices, despite their inability to recover anything at this time

against HomeServices. Again, absent class members may have been better placed to extract

value of their own based on the conduct of the franchisees. It certainly may be that the Plaintiffs

in these cases had valid reasons not to pursue the franchisees. It is just as likely, however, that in

other jurisdictions, the absent class members could have pursued those franchisees, resulting in

higher or more collectible awards.

       V. Settlement Agreements Release Franchisees Despite Not Requiring Anything of
       Them

       It is axiomatic in our law that a release is a contract and subject to contractual principles.

It is further axiomatic that, for a contract to form, there must be consideration. Consideration is

“the exchange of something of value as between the parties, which may include a promise.”

Crutcher v. Multiplan, Inc., 22 F.4th 756, 768 (8th Cir. 2022). These settlement agreements do not

bind the franchisees at all because there is no exchange between the parties, despite the fact that

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the complaint is replete with examples of franchisees taking active part in the price fixing

activities complained of and the formulation of the rules by which much of price fixing was

accomplished.

       It is uncontroverted that the franchisees of the Defendants in this case will pay no money

toward the total monetary settlement. While one could argue that, by paying a franchise fee,

these franchisees are somehow contributing to that fund, the franchisees were already required to

pay that franchise fee. Of course, doing what they were already required to do is not

consideration for a new contract. It further cannot be argued that these agreements require

franchisees to do anything. The settlement agreements do contain what are denominated as

“practice changes,” but those practice changes use no mandatory language when addressing

franchisees. Rather, with respect to the franchisees the settlement agreements contain language

like “make clear and periodically remind” and “advise and periodically remind.” (Preliminary

Motion for Approval for Realogy and RE/MAX Settlement Agreements, dkt 1192 at pp. 12-17

and Keller Williams Settlement Agreement, dkt. 1371-1 at pp. 21-24). In order to be effective,

these settlement agreements should make mandatory adoption of these practice changes as a

condition of owning a franchise and the failure to follow those provisions a condition exposing

the franchisees to revocation of the franchise. Another alternative would be an injunction that

forbids the Seller from making an offer of compensation to the buyer broker at all. This

alternative is proposed by the Department of Justice in its Statement of Interest of the United

States in Nosalek. (Ex. 1 at pp. 20-22). This would stop the price fixing behavior, the actual

illegal activity, from recurring. That proposal is in the context of an MLS, but would be even

more effective when imposed on franchisees of the largest brokerage firms in the nation.


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        Further, the underlying purpose of antitrust law, that violators be punished, victims be

amply compensated, and incentivize private actors to vindicate the public interest in having

open, competitive markets, is undermined by the fact that these franchisees are able to escape

any accountability. Plaintiffs made a decision not to sue the franchisees who directly harmed

their clients and that decision may very well have been a good one for the facts and

circumstances prevailing at the time they made it. Neither the Moerhl nor the Burnett plaintiffs

held those franchisees to account, just as this settlement fails to hold them to account, despite the

fact that these franchisees accomplished the conspiracy that directly harmed those plaintiffs in

the Subject MLSs. Those franchisees, the active participants in the conspiracy, will not have to

disgorge their profit from the conspiracy they carried out against those plaintiffs. Those

franchisees will not have to change any of their conduct as a result of this trial or these

settlements. Now, those plaintiffs are asking this Court to impose that same decision on every

single member of a national class. That imposition does not serve the public interest, nor does it

serve the absent class members.

 V.     Sunset Provision

        Each Settlement Agreement provides for a sunset provision as to the “practice changes,”

such as they are, of five (5) years after the effective date of the agreement. As discussed above,

the NAR and its local real estate boards have, since 1939, attempted to fix real estate

commissions nationwide. Five years is simply inadequate based on these Defendants’ decades

long practice of fixing the commissions for both sides of the sale, and their highly profitable

results, the surreptitious return to this practice can almost be guaranteed unless clear prohibitions

against it are put in place for a substantially longer period of time. The history of this industry


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shows an incorrigible predilection for the fixing of commissions.



 VI.     There Are No Available Financial Documents To Establish The Earnings, EBITDA,

         Or Net Worth Of Keller Williams.

         Objectors are informed and believe that during the course of the trial regarding this

matter, the presiding judge placed the Keller Williams financial information under seal or it was

otherwise excluded as evidence. Objectors also have no way to otherwise examine the financial

condition of Keller Williams. It is impossible to analyze the fairness, reasonableness, and

adequacy of the settlement without reviewing those financial records. Paragraph 62 of the

settlement agreement refers to a mediation conducted with references made to “materials

exchanged.” (Keller Williams Settlement Agreement, dkt. 1371-1 at ¶ 62). Plaintiffs’ counsel

have also informally represented to counsel for these Objectors that they were provided with

sufficient financial information regarding these companies’ financial status to make an informed

and intelligent decision regarding settlement.

         In a Sixth Circuit Case, Shane Group, Inc. v. Blue Cross Blue Shield of Michigan, et. al.,

825 F.3d 299 (6th Cir. 2016), Judge Kethledge pointed out that “class members cannot participate

meaningfully in the process contemplated by Federal Rule of Civil Procedure 23(e) unless they

can review the bases of the proposed settlement.” Shane Group at *309. This is particularly true

when that documentation is “the keystone of the settlement agreement.” Id. at *306. Keller

Williams’s actual financial condition is one of the keystone factors in this settlement agreement.

In every case where a verdict is rendered, the Defendants threaten bankruptcy because that gives

them the most possible leverage in negotiating a verdict. They also threaten appeals and post-


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trial motions in an effort to drive up costs. It may very well be that Keller Williams is presently

teetering on the edge of bankruptcy. It may be that more than $70 million over the next 3 years

will bankrupt them. But Objectors, on behalf of the proposed class members of South Carolina,

cannot know that without access to sufficient information to make that determination for

themselves.

       These Objectors are informed and believe that they should be entitled to the financial

records under seal or subpoenaed for trial, any documents reviewed at mediation, and any other

documents provided by Keller Williams used to prove its financial condition to the Plaintiffs.

Keller Williams’ financial condition is an essential factor in determining whether the proposed

settlement is fair, reasonable, and adequate. Class members need to know Keller Williams’

financial condition before they can know if the proposed settlement is fair, reasonable, and

adequate.

VII. Conclusion

       For the foregoing reasons, the Objectors object to this settlement. They have been

advised solely by the undersigned counsel, who intend to appear on their behalf at the fairness

hearing to be held on May 9, 2024 in Kansas City, MO at the Charles Evans Whittaker U.S.

Courthouse.

                                *** Signature Pages to Follow ***




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                                   KNIE & SHEALY

                                    /s/ Patrick E. Knie
                                   Patrick E. Knie
                                   pat@knieshealy.com
                                   Federal I.D. No. 2370
                                   Matthew W. Shealy
                                   matt@knieshealy.com
                                   Federal I.D. No. 12823
                                   P.O. Box 5159
                                   250 Magnolia Street
                                   Spartanburg, S.C. 29304
                                   Telephone No. (864) 582-5118
                                   Telefax No. (864) 585-1615

                                   Mitch Slade
                                   MITCH SLADE LAW OFFICE, P.A.
                                   FEDERAL I.D. NO. 5352
                                   P.O. Box 1007
                                   Spartanburg, S.C. 29304
                                   Telephone: (864)582-4212
                                   mitch@mitchsladelaw.com

                                   ATTORNEYS FOR PLAINTIFF
April 12, 2024




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